Case 8:14-cv-00363-MSS-MAP Document 24 Filed 10/02/14 Page 1 of 2 PageID 120




                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                      TAMPA DIVISION


   JOSE E. CRUZ,

                  Plaintiff,

   vs.                                                    Case No. 8:14-cv-00363-T-35MAP

   FIRST ASSOCIATES LOAN SERVICING,
   LLC d/b/a PEAKS PRIVATE STUDENT
   LOANS,

               Defendant.
   _________________________________/

                                           ORDER

          Before the Court is the motion for Michael C. Barnhill to appear pro hac vice (doc.

   23). Kathleen S. McLeroy moves the Court to allow Michael C. Barnhill to appear pro hac

   vice as counsel for Defendant, with Ms. McLeroy designated as local counsel pursuant to

   Local Rule 2.02(a). In accordance with Local Rule 2.02(a), Michael C. Barnhill is directed

   to pay the requisite fee and participate in electronic filing by registering for CM/ECF and

   obtaining passwords within twenty-one (21) days of this Order.1 He is further directed to

   electronically file a notice of compliance with CM/ECF registration within twenty-one (21)

   days of this Order. Upon consideration, it is hereby




   1
    Counsel may obtain a password by accessing the Court’s website, located at
   www.flmd.uscourts.gov, and clicking on CM/ECF. Once counsel has registered for CM/ECF,
   he/she must also register an email address.
Case 8:14-cv-00363-MSS-MAP Document 24 Filed 10/02/14 Page 2 of 2 PageID 121




         ORDERED:

         1.   The motion for Michael C. Barnhill to appear pro hac vice (doc. 23) is

   GRANTED.

         DONE and ORDERED in Tampa, Florida on October 2, 2014.




                                        2
